               Case 3:21-cv-05644-JHC Document 1 Filed 09/02/21 Page 1 of 3



 1

 2

 3

 4

 5

 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
 8

 9    NICOLE A. CALDWELL, as personal
      representative of the ESTATE OF DYLAN
10    A. FURFORD,                                           NO.

11                                   Plaintiff,             COMPLAINT FOR DAMAGES
                                                            FOR WRONGFUL DEATH
12                           v.

13    PACIFIC DYNASTY, INC., a Washington
      for-profit corporation,
14
                                     Defendant.
15

16
                    COMES NOW, plaintiff, Nicole A. Caldwell, as personal representative of the
17
     Estate of Dylan A. Furford, and for cause of action against defendant Pacific Dynasty, Inc., alleges
18   as follows:
19                  1.      JURISDICTION. This is an action by the personal representative of the

20   estate of a seaman for wrongful death against decedent’s employer and the owner and operator of

     a vessel operating in navigable waters of the United States. Jurisdiction exists under 28 U.S.C. §
21
     1331, the Jones Act, 46 U.S.C. § 30104, and the general maritime law.
22
                    2.      VENUE. At all times material, defendant Pacific Dynasty, Inc. was a
23
     Washington for-profit corporation doing business in Westport, Washington within the Southern
24
      COMPLAINT FOR DAMAGES                                                           KRAFT DAVIES OLSSON P.L.L.C.
      FOR WRONGFUL DEATH - 1                                                               600 University Street, Suite 1904
                                                                                                 Seattle, WA 98101
                                                                                                 Ph. (206) 624-8844
               Case 3:21-cv-05644-JHC Document 1 Filed 09/02/21 Page 2 of 3



 1
     Division of the Western District of Washington and was the owner and operator of the F/V
 2
     PACIFIC DYNASTY and employed Dylan A. Furford as a member of the crew.
 3                  3.      PARTIES.
 4                  a.      At all times material, plaintiff Nicole A. Caldwell was and is the duly

 5   appointed personal representative of the Estate of Dylan A. Furford, the natural mother of Dylan

     A. Furford, and a resident of Copalis Crossing, Grays Harbor County, Washington within the
 6
     Southern Division of the Western District of Washington.
 7
                    b.      At all times material, defendant Pacific Dynasty, Inc. was a Washington for-
 8
     profit corporation based in Westport, Grays Harbor County, Washington within the Southern
 9
     Division of the Western District of Washington and the owner and operator of the F/V PACIFIC
10   DYNASTY and employed Dylan A. Furford as a member of the crew.

11                  4.      LIABILITY. On or about, July 2, 2020, decedent Dylan A. Furford was

12   employed by defendant Pacific Dynasty, Inc. as a member of the crew onboard the F/V PACIFIC

     DYNASTY, which was operating in navigable waters of the United States off the shores of
13
     Tugidak Island, Alaska. At that time and place, defendant was negligent and the vessel was
14
     unseaworthy in that defendant failed to properly supervise the crew, failed to provide safe ingress
15
     and egress from Tugidak Island to the vessel, failed to implement safe procedures for travel to and
16   from shore, failed to provide decedent with a safe place to work, failed to properly train the crew,
17   failed to properly and safely operate the skiff from shore to the vessel, failed to maintain

18   communication with the crew, failed to provide a skiff that was reasonably fit for travel through

19   white water sea conditions, and failed to instruct the crew on safety measures. For these reasons,

     and additional reasons likely to be discovered through the discovery process in this lawsuit,
20
     defendant was negligent and the vessel was unseaworthy. As a direct and proximate result of
21
     defendant’s negligence and the unseaworthiness of the vessel, decedent Dylan A. Furford drowned
22
     in the waters off Tugidak Island, Alaska on or about July 2, 2020.
23

24
      COMPLAINT FOR DAMAGES                                                           KRAFT DAVIES OLSSON P.L.L.C.
      FOR WRONGFUL DEATH - 2                                                               600 University Street, Suite 1904
                                                                                                 Seattle, WA 98101
                                                                                                 Ph. (206) 624-8844
               Case 3:21-cv-05644-JHC Document 1 Filed 09/02/21 Page 3 of 3



 1
                      5.    JURY DEMAND. Plaintiff respectfully asks for a jury trial pursuant to Fed.
 2
     R. Civ. P. 38.
 3                    6.    DAMAGES. As a direct and proximate result of defendant’s negligence
 4   and the unseaworthiness of the vessel, decedent Dylan A. Furford died at the age of 22, leaving

 5   his surviving natural parents Nicole A. Caldwell and Russell D. Furford.                 As personal

     representative of the Estate of Dylan A. Furford, plaintiff Nicole A. Caldwell is entitled to recovery
 6
     of damages for the Estate for decedent’s pre-death pain and suffering and other damages allowed
 7
     under the Jones Act, 46 U.S.C. § 30104, and general maritime law.
 8
                      WHEREFORE, plaintiff prays for damages to be awarded against defendant in an
 9
     amount to be determined by the presentation of evidence at the time of trial, together with
10   prejudgment interest on the award, and her taxable costs.

11                    DATED this 2nd day of September, 2021.

12

13                                                       By:
                                                               s/Richard J.Davies
14                                                             s/Marissa A. Olsson
                                                               Richard J. Davies, WSBA No. 25365
15                                                             Marissa A. Olsson, WSBA No. 43488
                                                               KRAFT DAVIES OLSSON, PLLC
16                                                             600 University Street, Suite 1904
                                                               Seattle, Washington 98101
17                                                             Telephone: (206) 624-8844
                                                               Fax: (866) 231-2499
18                                                             E-mail: RJD@admiralty.com
                                                               E-mail: MAO@admiralty.com
19
                                                               Attorneys for Plaintiff Nicole A. Caldwell, as
20                                                             personal representative of the Estate of Dylan
                                                               A. Furford
21

22

23

24
      COMPLAINT FOR DAMAGES                                                             KRAFT DAVIES OLSSON P.L.L.C.
      FOR WRONGFUL DEATH - 3                                                                 600 University Street, Suite 1904
                                                                                                   Seattle, WA 98101
                                                                                                   Ph. (206) 624-8844
